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John E. Beauzile
502 North Main Street
Brewster, NY 10509 USA
Email: jeb2235@columbia.edu



Justin T. Green
Kreindler & Kreindler, LLP
750 Third Avenue
New York, NY 10017



Re: Update of Analysis of Economic Loss in the Matter of
The Estate of Ms. Christina Sunga Ryook



January 2, 2018

Dear Mr. Green,

You have asked me to update the present value numbers in the analysis of the likely economic loss award from
the September 11th Victim Compensation Fund prepared by The Fund dated November 25, 2002. I have used
their assumptions for wages, benefits, taxes, personal consumption, replacement services, and discount rate to
estimate those values and bring them to the present. The valuation date chosen is January 1, 2018.

In preparing this update, the only document reviewed is The Fund’s report. This update assumes the reader is
familiar with the methodology used and assumptions made by The Fund and, therefore, they will not be restated
here.

The update of The Fund’s analysis is summarized in four (4) sets of Exhibits.
     Exhibit 1 provides the summary of Lost Earnings, Retirement Benefits, and Lost of Replacement
       Services;
     The set of Exhibits 2s shows the details behind the loss of earnings numbers;
     The Exhibit 3 set provides supporting documentation for Retirement Benefits;
     The loss of Replacement Services amounts are in Exhibits 4s.

I believe that my agency, Robert Half Legal, has already provided you with a copy of my curriculum vitae. If not,
feel free to contact them.


Sincerely,



John E. Beauzile
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 Valuation Date                                     01-Jan-18
 Discount Rate                                           4.2%



                    Exhibit 1. Summary of Economic Damages
                           Ms. Christina Sunga Ryook


                                                                Present Value
 Present Value of Lost Earnings                                          $1,373,727
 Present Value of Retirement Benefits                                        50,258
 Present Value of Lost Replacement Services                                 574,171
 Total                                                               $1,998,156
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Base Salary Unempl.        Tax Rate         Benefits      Pers. Consump.
  45,835        3.0%        14.720%          3,896           62.644%

                                                                     Exhibit 2a. Present Value of Lost Earnings
                                                                             Ms. Christina Sunga Ryook
                                                                              Special Master Worklife

                                            Age-
                             Time         Specific                                             Unempl.                                                                   PV of Net
   Year         Age                                        Earnings           Benefits                            Taxes             Consumption        Net Earnings
                            Frame         Growth                                                Adj.                                                                     Earnings
                                          Factor
    2001         26          0.31          1.00000                $14,053           $1,195              $0            ($2,069)              ($7,508)            $5,672         $5,672
    2002         27          1.31          1.08021                 49,511            4,209               0             (7,288)              (26,450)            19,982         19,982
    2003         28          2.31          1.07816                 53,381            4,538          (1,482)            (7,622)              (27,662)            21,153         21,153
    2004         29          3.31          1.07611                 57,444            4,883          (1,595)            (8,202)              (29,768)            22,763         22,763
    2005         30          4.31          1.07406                 61,698            5,245          (1,713)            (8,810)              (31,972)            24,449         24,449
    2006         31          5.31          1.07201                 66,141            5,623          (1,836)            (9,444)              (34,274)            26,209         26,209
    2007         32          6.31          1.06997                 70,769            6,016          (1,964)           (10,105)              (36,673)            28,043         28,043
    2008         33          7.31          1.06794                 75,577            6,425          (2,098)           (10,791)              (39,164)            29,949         29,949
    2009         34          8.31          1.06591                 80,559            6,848          (2,236)           (11,502)              (41,746)            31,922         31,922
    2010         35          9.31          1.06388                 85,705            7,286          (2,379)           (12,237)              (44,412)            33,962         33,962
    2011         36          10.31         1.06185                 91,005            7,736          (2,526)           (12,994)              (47,159)            36,062         36,062
    2012         37          11.31         1.05983                 96,450            8,199          (2,677)           (13,772)              (49,981)            38,220         38,220
    2013         38          12.31         1.05781                102,026            8,673          (2,832)           (14,568)              (52,870)            40,429         40,429
    2014         39          13.31         1.05580                107,719            9,157          (2,990)           (15,381)              (55,820)            42,685         42,685
    2015         40          14.31         1.05379                113,513            9,650          (3,151)           (16,208)              (58,823)            44,981         44,981
    2016         41          15.31         1.05179                119,392           10,149          (3,314)           (17,047)              (61,869)            47,311         47,311
    2017         42          16.31         1.04979                125,337           10,655          (3,479)           (17,896)              (64,950)            49,666         49,666
    2018         43          17.31         1.04779                131,327           11,164          (3,645)           (18,751)              (68,054)            52,040         50,897
    2019         44          18.31         1.04579                137,340           11,675          (3,812)           (19,610)              (71,170)            54,423         51,082
    2020         45          19.31         1.04380                143,356           12,186          (3,979)           (20,469)              (74,287)            56,807         51,170
    2021         46          20.31         1.04182                149,351           12,696          (4,146)           (21,325)              (77,394)            59,182         51,161
    2022         47          21.31         1.03984                155,301           13,202          (4,311)           (22,174)              (80,477)            61,540         51,055
    2023         48          22.31         1.03786                161,181           13,702          (4,474)           (23,014)              (83,524)            63,870         50,852
    2024         49          23.31         1.03588                166,964           14,193          (4,635)           (23,840)              (86,521)            66,162         50,554
    2025         50          24.31         1.03391                172,625           14,674          (4,792)           (24,648)              (89,455)            68,405         50,161
    2026         51          25.31         1.03194                178,139           15,143          (4,945)           (25,435)              (92,312)            70,590         49,677
    2027         52          26.31         1.03000                183,483           15,597          (5,093)           (26,198)              (95,081)            72,708         49,105
    2028         53          27.31         1.03000                188,988           16,065          (5,246)           (26,984)              (97,934)            74,889         48,539
    2029         54          28.31         1.03000                194,657           16,547          (5,403)           (27,794)             (100,872)            77,136         47,980
    2030         55          29.31         1.03000                200,497           17,044          (5,566)           (28,628)             (103,898)            79,450         47,428
    2031         56          30.31         1.03000                206,512           17,555          (5,733)           (29,487)             (107,015)            81,833         46,881
    2032         57          31.31         1.03000                212,707           18,082          (5,905)           (30,371)             (110,225)            84,288         46,342
    2033         58          32.31         1.03000                219,089           18,624          (6,082)           (31,282)             (113,532)            86,817         45,808
    2034         59          33.22         1.03000                206,856           17,584          (5,742)           (29,536)             (107,193)            81,970         41,578
Total                                                       $4,378,655          $372,220      ($119,782)          ($625,483)           ($2,270,043)        $1,735,567     $1,373,727

Notes:
(1) Assumptions can be found in 'Assumptions' and 'After‐tax Projections' tabs in Excel file in ...\Valuation\ValuationModels\...
(2) Unemployment adjustment after 2002.
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                      Pers.      Pension       401(k) Contrib.
Unempl. Tax Rate
                      Cons.    Contrib. Rate        Rate
  3.0%     14.720%   62.644%     4.000%           0.000%

                                   Exhibit 3a. Present Value of Lost Pension Benefits
                                                Ms. Christina Sunga Ryook
                                                 Special Master Worklife

                      Time                                                                                    PV of Net
 Year       Age                 Pension           401(k)         Taxes        Consumption       Net Loss
                     Frame                                                                                      Loss
  2001       26        0.31            $562                $0            $0            ($352)         $210            $210
  2002       27        1.31            1,980                0             0           (1,241)           740            740
  2003       28        2.31            2,071                0             0           (1,297)           774            774
  2004       29        3.31            2,229                0             0           (1,396)           833            833
  2005       30        4.31            2,394                0             0           (1,500)           894            894
  2006       31        5.31            2,566                0             0           (1,608)           959            959
  2007       32        6.31            2,746                0             0           (1,720)         1,026          1,026
  2008       33        7.31            2,932                0             0           (1,837)         1,095          1,095
  2009       34        8.31            3,126                0             0           (1,958)         1,168          1,168
  2010       35        9.31            3,325                0             0           (2,083)         1,242          1,242
  2011       36       10.31            3,531                0             0           (2,212)         1,319          1,319
  2012       37       11.31            3,742                0             0           (2,344)         1,398          1,398
  2013       38       12.31            3,959                0             0           (2,480)         1,479          1,479
  2014       39       13.31            4,180                0             0           (2,618)         1,561          1,561
  2015       40       14.31            4,404                0             0           (2,759)         1,645          1,645
  2016       41       15.31            4,632                0             0           (2,902)         1,730          1,730
  2017       42       16.31            4,863                0             0           (3,046)         1,817          1,817
  2018       43       17.31            5,095                0             0           (3,192)         1,903          1,862
  2019       44       18.31            5,329                0             0           (3,338)         1,991          1,868
  2020       45       19.31            5,562                0             0           (3,484)         2,078          1,872
  2021       46       20.31            5,795                0             0           (3,630)         2,165          1,871
  2022       47       21.31            6,026                0             0           (3,775)         2,251          1,867
  2023       48       22.31            6,254                0             0           (3,918)         2,336          1,860
  2024       49       23.31            6,478                0             0           (4,058)         2,420          1,849
  2025       50       24.31            6,698                0             0           (4,196)         2,502          1,835
  2026       51       25.31            6,912                0             0           (4,330)         2,582          1,817
  2027       52       26.31            7,119                0             0           (4,460)         2,659          1,796
  2028       53       27.31            7,333                0             0           (4,594)         2,739          1,775
  2029       54       28.31            7,553                0             0           (4,731)         2,821          1,755
  2030       55       29.31            7,779                0             0           (4,873)         2,906          1,735
  2031       56       30.31            8,013                0             0           (5,019)         2,993          1,715
  2032       57       31.31            8,253                0             0           (5,170)         3,083          1,695
  2033       58       32.31            8,501                0             0           (5,325)         3,175          1,676
  2034       59       33.22            8,026                0             0           (5,028)         2,998          1,521
Total                            $169,968                  $0            $0       ($106,475)       $63,493        $50,258
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                     Exhibit 4a. Loss Estimated Value of Replacement Services
                                     Ms. Christina Sunga Ryook

                                              Household          Family Care         Total
  Year       Age         Time Frame                                                                 Present Value
                                               Services             Svcs            Services
  2001         26            0.31                      $3,970             $337            $4,307            $4,307
  2002         27            1.31                      13,335             1,133           14,468            14,468
  2003         28            2.31                      13,736             1,167           14,902            14,902
  2004         29            3.31                      14,148             1,202           15,349            15,349
  2005         30            4.31                      14,572             1,238           15,810            15,810
  2006         31            5.31                      15,009             1,275           16,284            16,284
  2007         32            6.31                      15,459             1,313           16,773            16,773
  2008         33            7.31                      15,923             1,353           17,276            17,276
  2009         34            8.31                      16,401             1,393           17,794            17,794
  2010         35            9.31                      16,893             1,435           18,328            18,328
  2011         36            10.31                     17,400             1,478           18,878            18,878
  2012         37            11.31                     17,922             1,522           19,444            19,444
  2013         38            12.31                     18,459             1,568           20,027            20,027
  2014         39            13.31                     19,013             1,615           20,628            20,628
  2015         40            14.31                     19,584             1,664           21,247            21,247
  2016         41            15.31                     20,171             1,713           21,885            21,885
  2017         42            16.31                     20,776             1,765           22,541            22,541
  2018         43            17.31                     21,400             1,818           23,217            22,637
  2019         44            18.31                     22,042             1,872           23,914            22,248
  2020         45            19.31                     22,703             1,928           24,631            21,866
  2021         46            20.31                     23,384             1,986           25,370            21,491
  2022         47            21.31                     24,085             2,046           26,131            21,122
  2023         48            22.31                     24,808             2,107           26,915            20,759
  2024         49            23.31                     25,552             2,171           27,723            20,402
  2025         50            24.31                     26,319             2,236           28,554            20,052
  2026         51            25.31                     27,108             2,303           29,411            19,707
  2027         52            26.31                     27,922             2,372           30,293            19,369
  2028         53            27.31                     28,759             2,443           31,202            19,036
  2029         54            28.31                     29,622             2,516           32,138            18,709
  2030         55            29.31                     30,511             2,592           33,102            18,388
  2031         56            29.99                     21,476             1,824           23,301            12,442
Total                                              $628,461           $53,384         $681,846           $574,171

Notes: (1) Assumptions can be found in 'PRINT Replacement Summary' tab in Excel file in
...\Valuation\ValuationModels\...
(2) The annual growth rate for replacement services is 3%.
(3) Discount rate is 4.8%
